                              11TH COURT OF APPEALS
                                 EASTLAND, TEXAS
                                     JUDGMENT

Remnant Assets, LLC,                          * From the 118th District Court
                                                of Glassock County,
                                                Trial Court No. 1789.

Vs. No. 11-22-00343-CV                        * August 8, 2024

Permico Royalties, LLC;                       * Memorandum Opinion by Bailey, C.J.
Parkcrest Minerals, LLC;                        (Panel consists of: Bailey, C.J.,
and David B. Roemer,                            Trotter, J., and Williams, J.)

     This court has inspected the record in this cause and concludes that there is no
error in the judgment below. Therefore, in accordance with this court’s opinion,
the judgment of the trial court is in all things affirmed. The costs incurred by
reason of this appeal are taxed against Remnant Assets, LLC.
